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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
Www.flmb.uscourts.gov

In re: CASE NO.: 3:18-bk-01164-JAF
EIHAB H. TAWFIK, M.D., P.A., CHAPTER 11

Debtor.
/

APPLICATION OF EIHAB H. TAWFIK, M.D., P.A., TO EMPLOY JUSTIN M. LUNA
AND THE LAW FIRM OF LATHAM, SHUKER, EDEN & BEAUDINE, LLP,
AS DEBT()R’S COUNSEL, NUNC PRO TUNC TO APRIL 11, 2018

 

EIHAB H. TAWFIK, M.D., P.A., debtor and debtor-in-possession (“Debtor”), hereby
seeks authorization to employ Justin M. Luna and the law firm of Latham, Shul<er, Eden &
Beaudine, LLP, (“Latham Shuker”) as its counsel in this case, nunc pro tunc to April 11, 2018,
and, in support thereof, states:

l. On April ll, 2018, the Debtor filed its voluntary petition for reorganization under
Chapter ll of the Banknlptcy Code (the “Code”). No trustee has been appointed, and the Debtor
is administering its case as a debtor-in-possession.

2. Debtor owns and operates medical clinics in five locations in the Central Florida
area Those locations are Crystal River (2 locations), Celebration, Ocala, and Spring Hill. The
clinics provide the Debtor’s patients With services including, but not limited to, internal medicine,
urgent care, cardiology, diabetes treatment, podiatry, full imaging services and pain management
The Debtor is a health care business.

3. The Debtor is owned lOO% by Dr. Eihab H. Tawfik (“Dr. Tawfik”).

4. The Debtor desires to employ Latham Shuker, under § 327(a) of the Bankruptcy
Code, to assist the Debtor in its bankruptcy case.

5. The Debtor has selected Latham Shuker because:

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(a) partners and associates of Latham Shuker have substantial experience in
rendering the types of legal services that will be required in this case;

(b) partners and associates of Latham Shuker are admitted to practice in this
Court; and

(c) Latham Shuker will be able to efficiently and cost-effectively render
services necessary in this Chapter ll case.

6. In the continuation of the Debtor’s estate and in the administration of this case,
legal services will be required as to, but not limited to, the following;

(a) advising as to the Debtor’s rights and duties in this case;

(b) preparing pleadings related to this case, including a disclosure statement
and a plan of reorganization; and

(c) taking any and all other necessary action incident to the proper preservation
and administration of this estate.

7. Latham Shuker has represented the Debtor since on or about April ll, 2018 in
connection with the preparation and filing of the voluntary petition under Chapter l l of the United
States Banl<ruptcy Code (“Code”) and preparation of related initial pleadings in this case.

8. To the best of Debtor’s knowledge, Latham Shuker represents no interest adverse
to the Debtor or to the estate in matters upon which it is to be engaged, and employment of Latham
Shuker would be in the best interest of the estate.

9. To the best of Debtor’s knowledge, Latham Shuker has no connection with the
creditors, any other party-in-interest, its respective attorneys and accountants, the United States
Trustee, or any persons employed by the United States Trustee.

10. Latham Shuker does not represent, nor has it in the past, the individual interests of

any other officer, director, or shareholder of the Debtor.

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11. The terms of employment agreed to between thc Debtor and Latham Shuker,
subject to approval of the Court, are that services will be billed at the standard hourly rates of the
respective attorneys and paralegals of Latham Shukcr, which rates range from $575 for its most
experienced attorneys to 3105 for its most junior paraprofessionals and are subject to periodic
adjustment to reflect economic and other considerations Latham Shuker Will apply its advance
fee to its periodic billings subject to interim and final applications for compensation and approval
by the Court, and, at an appropriate time, Latham Shuker may make application for an award of
additional compensation_; and the Debtor, subject to Court approval, shall be responsible for all
fees and expenses incurred by Latham Shuker.

12. Prior to the commencement of this case, the Debtor paid an advance fee of
$5,863.00 for post-petition services and expenses in connection With this case.

13. The Debtor has paid 35,837.00 to Latham Shuker, on a current basis, for services
rendered and costs incurred prior to corrnnencement of this case, for the preparation of the petition
for reorganization under Chapter l l of the Code and all related initial pleadings filed in this case,
and prepetition expenses in this case, including the filing fee for the voluntary petition.

WHEREFORE, Eihab H. Tawt`rk, M.D., P.A., respectfully requests the entry of an order
authorizing it to retain and employ Justin M. Luna and the law firm of Latham, Shuker, Eden &
Beaudine, LLP, as its bankruptcy counsel in this case, nunc pro tunc, to April ll, 2018, and for
such other and further relief as is just and proper in the circumstancesl

RESPECTFULLY SUBMITTED this Q_Of{day oprril 2018.

EIHAB H. TAWFIK, M.D., P.A.

..»-»-'_5":;`:=’

Dr. Eihab H. Tawti_k, Di ec 'or' `.

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
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In rec CASE NO. 3:18-bk-01164-JAF
EIHAB H. TAWFIK, M.D., P.A., CHAPTER 11
Debtor.
/
CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true copy of the APPLICATION OF EIHAB H.
TAWFIK, M.D., P.A., TO EMPLOY JUSTIN M. LUNA AND THE LAW FIRM OF
LATHAM, SHUKER, EDEN & BEAUDINE, LLP, AS DEBTOR’S COUNSEL, NUNC PRO
TUNC TO APRIL 11, 2018, together with any exhibits, has been furnished either electronically
and/or by U.S. First Class, postage prepaid mail to: EIHAB H. TAWFIK, M.D., P.A., c/o Eihab
H. Tawfik, 7394 West Gulf to Lake Highway, Crystal River, Florida 34429; CENTRAL BANK,
c/o l\/Iegan W. Murray, Esq., 101 E. Kennedy Blvd., Suite 1700, Tampa, Florida 33602
(mwmurray@trenam.com); IBERIABANK c/o Michael S. Waskiewicz, Esq., 50 North Laura
Street, Suite 3000, Jacksonville, Florida 32202 (mwaskiewicz@burr.com); all creditors and
interested parties as shown on the matrix attached hereto, and the UNITED STATES TRUSTEE
- JAX11, Oftice of the United States Trustee, 400 W. Washington Street, Suite 1100, Orlando,
Florida 32801, on this QQ‘day of April 2018

 

/s/ Justin M. Luna

Justin l\/I. Luna, Esq.

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Label Matrix for local noticing
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Middle District of Florida
Jacksonville

Fri Apr 13 13:23:35 EDT 2018

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